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                 IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

In re:                                      §
                                            §                Case No. 21-32261
Kornbluth Texas, LLC,                       §
                                            §                Chapter 11
Debtor.                                     §

           Objection to Agreed Order and Stipulation Authorizing the
                        Continued Use of Cash Collateral
                                 (Doc. No. 148)

         The United States objects to the proposed order at Doc. No. 148.

                                       Summary

         A carve out for administrative expenses requires either (a) the consent of all

affected lienholders, or (b) the showing called for by the Fifth Circuit in In re

Domistyle, Inc., 811 F.3d 691 (5th Cir. 2015). The debtor does not have the consent

of all lienholders, and it cannot make the showing required by Domistyle for expenses

which have not yet been incurred. Without either, the Court is prohibited by Fifth

Circuit authority from enlarging the carveout beyond what it previously ordered.

                                     Background

         The United States through the U.S. Small Business Administration holds a

junior lien on cash collateral in this case. Exhibit A.

         Since the appointment of the chief restructuring officer, debtor’s counsel has

refused to either engage in meaningful negotiations with counsel for the United

States about cash collateral or provide timely information about sale efforts.

Regarding cash collateral, despite the fact that authority to use cash collateral under
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the Court’s previous order expired on December 9, [Doc. No. 110, p. 6], debtor’s

counsel made zero effort to confer with the United States about continued use of cash

collateral before the December 16 hearing. Instead, the debtor’s counsel requested

an emergency status conference, the Court set a status conference at 1:00 p.m. on

December 16, and at 12:58 p.m. on December 16 the debtor filed a new proposed cash

collateral order. With the continuing choice by debtor’s counsel to keep the junior

lienholder in the proverbial dark, it should not be surprising that the junior

lienholder is unwilling to give a blank-check carveout to administrative expenses.

      At the December 16 hearing, the United States stated that (a) if the new

proposed cash collateral order did not reduce the SBA’s recovery, then it had no

problem with the first lienholder granting a larger carveout, but (b) if this agreement

between the debtor and the first lienholder will have any adverse effect on the SBA’s

recovery, then the United States does not agree to it.

      Following the hearing, the debtor and the United States exchanged redlines.

The debtor insisted on increasing the amount of the carveout to reduce the SBA’s

recovery. The last version circulated by debtor’s counsel, filed at Doc. No. 148-1,

wants the Court to increase the carveout from (a) a maximum of $50,000 after

December 9, 2021, to (b) an uncapped amount incurred between December 9, 2021,

and a date potentially as late as January 15, 2022. [Doc. No. 148-1, p. 3] (moving

“Termination Event” potentially to a date on or before January 15, 2022); [Doc. No.

148-1, p. 4] (removing the $50,000 cap that originally appeared at Doc. No. 110, p. 5].
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      The United States does not consent to this increased carveout, meaning the

debtor must make the appropriate showing to get the additional carveout. Because

the debtor seeks a carveout for fees yet to be incurred, it is unclear how the debtor

can show those yet-to-be-incurred fees are necessary, reasonable, and benefit the

United States.

                                      Objection

      The United States objects to increasing the carveout for administrative

expenses in a way that has any effect on the SBA’s recovery.

      Administrative expenses can only be surcharged against a secured creditor’s

collateral if they “are (1) necessary; (2) reasonable; and (3) benefit the creditor.”

Matter of Houston Regional Sports Network, L.P., 886 F.3d 523, 533 (5th Cir. 2018)

(citing In re Domistyle, Inc., 811 F.3d 691, 695 (5th Cir. 2015)); 11 U.S.C. § 506(c).

Not just any benefit meets the third requirement—“the expense must be ‘directly

related to preserving or enhancing’ [the] encumbered property.” Id. (citing Domistyle,

811 F.3d at 698). Benefits that are indirect, speculative, or benefit other creditors do

not qualify. In re McCombs, 436 B.R. 421, 449 (Bankr. S.D. Tex. 2010) (citing In re

Grimland, Inc., 243 F.3d 228, 232-233 (5th Cir. 2001)). The party seeking surcharge

bears the burden of proof. Id. (citing Psi, Inc. v. Aguillard (Matter of Senior-G & A

Operating Co., Inc.), 957 F.2d 1290, 1299 (5th Cir. 1992)).

      The debtor previously made a detailed agreement with the first lienholder

about a carveout. [Doc. No. 110, pp. 5-6]. Although the debtor chose not to seriously

engage with the United States on this carveout, the United States reviewed this
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proposed order and declined to object because the carveout appeared reasonable.

Now, again refusing to seriously engage with the United States, the debtor asks to

increase this carveout—going from a post-December 9 cap of $50,000 to an uncapped

amount after December 9. [Doc. No. 110, p. 5]; [Doc. No. 148-1, p. 4]. This increased

amount could eat into the SBA’s recovery, and depending on the amount of the first

lienholder’s credit bid, the amount of cash left in the estate, and the amount of

administrative expenses, could totally eliminate any recovery by the United States.

If that happens, it would be virtually impossible for the administrative claimants to

show a specific “benefit” to the United States, meaning a carveout to that extent

would not be appropriate under Fifth Circuit authority.

      The United States proposes adding the following to the proposed order at Doc.

No. 148-1 to resolve this dispute:

      Notwithstanding anything to the contrary elsewhere in this Order, the
      Carve-Out either (a) shall not exceed (i) the allowed amount of the
      Lender’s secured claim, minus (ii) the amount of the winning foreclosure
      sale bid by the Lender plus any amounts paid to the Lender during this
      case, or (b) shall be limited by the terms of the Court’s Order at Doc. No.
      110.

This this language preserves the deal between the first lienholder and the debtor in

the event it is the first lienholder’s recovery—and only its recovery—being reduced

by the new carveout proposal. At the same time, this language prevents the debtor

from reducing the United States’ recovery through an agreement that did not include

the United States.
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       Accordingly, the United States requests that the Court decline to enter the

proposed order at Doc. No. 148-1 and instead enter the proposed order included with

this objection. 1

       Dated: December 19, 2021.

                                                     Respectfully submitted,

                                                     JENNIFER B. LOWERY,
                                                     Acting United States Attorney

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                                   Certificate of Service

       The undersigned certifies that he served a true and correct copy of the
foregoing Notice on the parties receiving ECF notification in this case on December
19, 2021, by ECF notice.

                                                     s/ Richard A. Kincheloe
                                                     Richard A. Kincheloe
                                                     Assistant United States Attorney



1The attached proposed order starts from the last Word document that debtor’s counsel sent, revises
paragraph 6, removes the signature blocks of counsel, and deletes “Agreed” from the title.
